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Anthony Williams
#sL97 s-424
Metropolitan Correctional Center
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7t   W. Van Buren St.
Chicago,     IL   60605                                irovs aNu    All-
November     22, 202t                            cren?fl$h3ff8lH,o

Hon. John Robert Blakey
U.S. District Court
For the Northern District of lllinois
2t9 S. Dearborn St.
Chicago,     IL   60604

Re:    USA   v. Airthony Williams,         T7 CR L73-L

Dear Judge Blakey:

     I respectfully request that this Honorable Court grant me leave
to terminate the services of Attorney Michael l,Jalsh and for the Court
to appoint me alternative representation pursuant to the Criminal
Justice Act.
     On October 25, 202t, a friend sent an email to the Court on my
behalf detailing the problems that I was having with court appointed
attorney !/alshts representationr oE lack thereof. The Court entered
an order on October 26r 202I, that my attorney, Michael Wa1sh, be
in contact with me and file a status report on or before November L2,
202L. he failed to contact me or any member of my family and I sent
an email to the Court with this information on November L5r 202t.
The pacer records as of November 15, 202L do not reflect such a report
to have been filed; your.order was ignored. Further, Mr. Walsh would
be unable to prepare such a report, since he has not spoken with me
   not even a telephone conversation.
     As stated in the email, due to the complexity of my upcoming
sentenci-ng hearing and the arguments I would make on my behalf at
sentencing, the coDefendant sentences, and the likelihood that a
cooperating coDefendant may testify at my sentencing hearing, I
would need to prepare with an attorney who is attentive to my case
and zealous in representation and argument.
      In reviewing my contacts and discussions with Mr. Walsh, I have
now realized that he negotiated a plea agreement with the U.S.
Attorney in terms inconsistent with what I believed that I was culpable
for and-which I had expressed to Attorney trilalsh. Unfortunately,
I did not see the PIea Agreement until - the'day that I signed the
agreement. Mr. Walsh briefly described the details of the PIea
Agreement to me in the attorney,/client holding room by the

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2t9 s. Dearborn detainee "burlpent'prior to being taken to your
courtroom. Mr. t/alsh insisted that I needed to sign the agreement
that day since trial was to begin on or about JuLy-zL-22,10tg.
The Pleh was f iled on July t7 r-20L9. r bring thi's to the courtf s
attention since it is symptomatic of the representation that Mr. I,rIaIsh
has rendered in my case.
      During the COVID-19- pandemic's worst days, I rareljr communicated
,i!t, Attorney walsh, although other inmates had regular- telephone
calls with their attorney(s). After pleading guilEy and throughout
the last two years, I have attempted to speak with Attorney Walsh
concerning tha foliowing:
      - that although Walsh stated he would argue for a reduced
sentence in my case, the three criminal history-pbints assessed
in my his tory precludes my taking advanLage of- tire First Step Act
amended safety valve provisionl
      - my role in the conspiracy;
      - the error in the type and amount of drugs that r pled to;
      - codefendants that were similarly situated to me pled to
agreements below the ten year mandatory minimum because their pleas
did not contain a mandatoly minimum sentence and therefore my
sentence would be much mori: severe than similarly situated
coDefendants in my case.
     Your Honor, from the inception of this case, I have accepted
and continue to accept responsibility for partieipation in this
cons-piracy, but one that accurately ieflects my leve1 of involvement
in the conspiracy. I must argue this at senteircing and without
adequate representation, it is both unreasonable and prejudicial
to believe that I will be able to do so.

    -Again, please terminate Mr. Walshrs representation in my case,
continue my sentencing date, appoint a new attorney to represent
me pursuant to the criminal Justice Act. Thank you for your
consideration and help in this matter.

Respectfully submitted,

ZryA/Z/,*
Anthony WiIliams
Defendant
#5197 5-t+24



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